                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 UNITED STATES OF AMERICA,                      )
                                                )
         Plaintiff,                             )
                                                )
 v.                                             )   No. 3:07-cr-00240-2
                                                )
 MOISES FARRERA-GRAJALES,                       )
                                                )
         Defendant.                             )

                                           ORDER

        Upon motion by the Government (Doc. No. 162), this action is DISMISSED WITH

PREJUDICE. Fed. R. Crim. P. 48(a). The Clerk is directed to close the file.

        IT IS SO ORDERED.


                                            ____________________________________
                                            WAVERLY D. CRENSHAW, JR.
                                            CHIEF UNITED STATES DISTRICT JUDGE




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